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10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                ED CR No. 21-00174-JWH

13              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                              RICHARD ALLEN KERR
14                   v.

15   RICHARD ALLEN KERR,

16              Defendant.

17

18              This constitutes the plea agreement between RICHARD ALLEN
19   KERR (“defendant”) and the United States Attorney’s Office for the
20   Central District of California (the “USAO”) in the above-captioned
21   case.   This agreement is limited to the USAO and cannot bind any
22   other federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25              Defendant agrees to:
26              a.    At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to count three of the
28   indictment in United States v. RICHARD ALLEN KERR, ED CR No. 21-
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1    00174-JWH, which charges defendant with wire fraud involving

2    deprivation of honest services in violation of 18 U.S.C. §§ 1343,

3    1346.

4               b.    Not contest facts agreed to in this agreement.

5               c.    Abide by all agreements regarding sentencing contained

6    in this agreement.

7               d.    Appear for all court appearances, surrender as ordered

8    for service of sentence, obey all conditions of any bond, and obey

9    any other ongoing court order in this matter.
10              e.    Not commit any crime; however, offenses that would be
11   excluded for sentencing purposes under United States Sentencing
12   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
13   within the scope of this agreement.
14              f.    Be truthful at all times with the United States
15   Probation and Pretrial Services Office and the Court.
16              g.    Pay the applicable special assessment at or before the
17   time of sentencing unless defendant has demonstrated a lack of
18   ability to pay such assessments.

19        3.    Defendant further agrees:

20              a.    To forfeit all right, title, and interest in and to

21   any and all monies, properties, and/or assets of any kind, derived

22   from or acquired as a result of, or used to facilitate the commission

23   of, or involved in the illegal activity to which defendant is

24   pleading guilty (collectively, the “Forfeitable Assets”).

25              b.    To the Court’s entry of an order of forfeiture at or

26   before sentencing with respect to the Forfeitable Assets and to the

27   forfeiture of the assets.

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1                c.   To take whatever steps are necessary to pass to the

2    United States clear title to the Forfeitable Assets, including,

3    without limitation, the execution of a consent decree of forfeiture

4    and the completing of any other legal documents required for the

5    transfer of title to the United States.

6                d.   Not to contest any administrative forfeiture

7    proceedings or civil judicial proceedings commenced against the

8    Forfeitable Assets.     If defendant submitted a claim and/or petition

9    for remission for all or part of the Forfeitable Assets on behalf of
10   himself or any other individual or entity, defendant shall and hereby
11   does withdraw any such claims or petitions, and further agrees to
12   waive any right he may have to seek remission or mitigation of the
13   forfeiture of the Forfeitable Assets.
14               e.   Not to assist any other individual in any effort
15   falsely to contest the forfeiture of the Forfeitable Assets.
16               f.   Not to claim that reasonable cause to seize the
17   Forfeitable Assets was lacking.
18               g.   To prevent the transfer, sale, destruction, or loss of

19   any and all assets described above to the extent defendant has the

20   ability to do so.

21               h.   To fill out and deliver to the USAO a completed

22   financial statement listing defendant’s assets on a form provided by

23   the USAO.

24               i.   That forfeiture of Forfeitable Assets shall not be

25   counted toward satisfaction of any special assessment, fine,

26   restitution, costs, or other penalty the Court may impose.

27                              THE USAO’S OBLIGATIONS

28               The USAO agrees to:

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1               a.    Not contest facts agreed to in this agreement.

2               b.    Abide by all agreements regarding sentencing contained

3    in this agreement.

4               c.    At the time of sentencing, move to dismiss the

5    remaining counts of the indictment as against defendant.           Defendant

6    agrees, however, that at the time of sentencing the Court may

7    consider any dismissed charges in determining the applicable

8    Sentencing Guidelines range, the propriety and extent of any

9    departure from that range, and the sentence to be imposed.
10              d.    At the time of sentencing, provided that defendant
11   demonstrates an acceptance of responsibility for the offense up to
12   and including the time of sentencing, recommend a two-level reduction
13   in the applicable Sentencing Guidelines offense level, pursuant to
14   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
15   additional one-level reduction if available under that section.
16                               NATURE OF THE OFFENSE
17              Defendant understands that for defendant to be guilty of

18   the crime charged in count three, that is, wire fraud involving

19   deprivation of honest services in violation of Title 18, United

20   States Code, Sections 1343 and 1346, the following must be true: (i)

21   defendant devised or knowingly participated in a scheme or plan to

22   deprive the City of Adelanto and its residents of their right of

23   honest services; (ii) the scheme or plan consists of a bribe or

24   kickback in exchange for the defendant’s services; (iii) defendant

25   owed a fiduciary duty to the City of Adelanto and its residents; (iv)

26   defendant acted with the intent to defraud by depriving the City of

27   Adelanto and its residents of their right of honest services; (v)

28   defendant’s act was material; that is, it had a natural tendency to

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1    influence, or was capable of influencing, the City of Adelanto’s

2    acts; and (vi) defendant used, or caused someone to use, the wires to

3    carry out or to attempt to carry out the scheme or plan.

4                                       PENALTIES

5               Defendant understands that the statutory maximum sentence

6    that the Court can impose for a violation of Title 18, United States

7    Code, Sections 1343 and 1346, is: 20 years imprisonment; a 3-year

8    period of supervised release; a fine of $250,000 or twice the gross

9    gain or gross loss resulting from the offense, whichever is greatest;
10   and a mandatory special assessment of $100.
11              Defendant understands that supervised release is a period

12   of time following imprisonment during which defendant will be subject

13   to various restrictions and requirements.         Defendant understands that

14   if defendant violates one or more of the conditions of any supervised

15   release imposed, defendant may be returned to prison for all or part

16   of the term of supervised release authorized by statute for the

17   offense that resulted in the term of supervised release, which could

18   result in defendant serving a total term of imprisonment greater than

19   the statutory maximum stated above.

20              Defendant understands that, by pleading guilty, defendant

21   may be giving up valuable government benefits and valuable civic

22   rights, such as the right to vote, the right to possess a firearm,

23   the right to hold office, and the right to serve on a jury. Defendant

24   understands that he is pleading guilty to a felony and that it is a

25   federal crime for a convicted felon to possess a firearm or

26   ammunition.    Defendant understands that the conviction in this case

27   may also subject defendant to various other collateral consequences,

28   including but not limited to revocation of probation, parole, or

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1    supervised release in another case and suspension or revocation of a

2    professional license.     Defendant understands that unanticipated

3    collateral consequences will not serve as grounds to withdraw

4    defendant’s guilty plea.

5         9.    Defendant understands that, if defendant is not a United

6    States citizen, the felony conviction in this case may subject

7    defendant to: removal, also known as deportation, which may, under

8    some circumstances, be mandatory; denial of citizenship; and denial

9    of admission to the United States in the future.          The Court cannot,
10   and defendant’s attorney also may not be able to, advise defendant
11   fully regarding the immigration consequences of the felony conviction
12   in this case.    Defendant understands that unexpected immigration
13   consequences will not serve as grounds to withdraw defendant’s guilty
14   plea.
15                                    FACTUAL BASIS
16              Defendant admits that defendant is, in fact, guilty of the

17   offense to which defendant is agreeing to plead guilty.           Defendant

18   and the USAO agree to the statement of facts provided below and agree

19   that this statement of facts is sufficient to support a plea of

20   guilty to the charges described in this agreement and to establish

21   the Sentencing Guidelines factors set forth in paragraph 12 below but

22   is not meant to be a complete recitation of all facts relevant to the

23   underlying criminal conduct or all facts known to either party that

24   relate to that conduct.

25        Defendant was Mayor of the City of Adelanto (“the City”) during

26   2015, 2016, 2017, and part of 2018.        As Mayor, defendant was an agent

27   of the City, whose duties as Mayor and as a member of the City

28   Council included setting public policy for the City, including

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1    through consideration of and voting on City ordinances, overseeing

2    the functioning of City government, setting the City’s budget,

3    serving on committees as directed by the City Council, and performing

4    other administrative duties.       Based on his employment and duties,

5    defendant owed a duty of honest services to the City, and its

6    residents.    Among other things, defendant voted on ordinances

7    governing zoning regulations in the City, and served on the City’s

8    Cannabis Dispensary Permit Committee, which determined the number of

9    dispensary permits that would be issued, and determined which
10   applicants would receive a dispensary permit.
11        Beginning on an unknown date, but no later than on or about
12   November 23, 2015, and continuing until an unknown date but no
13   earlier than on or about June 18, 2018, in San Bernardino County,
14   within the Central District of California, and elsewhere, defendant
15   together with others, knowingly and with the intent to defraud,
16   devised, participated in, and executed a scheme to defraud the City
17   as to material matters, including by depriving the City of its right
18   to the intangible right of honest services of defendant, namely, the

19   honest performance of defendant’s duties as Mayor. Specifically,

20   defendant secretly used his official position to enrich himself and

21   his co-schemers by: (1) passing ordinances authorizing various types

22   of commercial marijuana activities, including marijuana cultivation,

23   marijuana distribution and transportation, and retail sales of

24   marijuana via a dispensary; (2) drafting zones for commercial

25   marijuana activities to include locations used by his supporters; and

26   (3) ensuring his supporters obtained the licenses or permits they

27   sought; all in contravention of conflict of interest prohibitions

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1    applying to defendant, and in exchange for bribes, kickbacks, gifts,

2    payments, and other things of value.

3         The fraudulent scheme operated, in substance, in the following

4    manner: defendant would receive bribes and kickbacks in the form of

5    cash and checks from Person A (or intermediaries of Person A), Person

6    C, and other co-schemers with business interests in the City;

7    defendant and co-schemers would disguise the bribes and kickbacks as

8    something other than a bribe or kickback, such as gifts, donations to

9    a charitable fund, donations to defendant’s election campaign, or
10   advance payments for the proceeds of planned litigation associated
11   with a motorcycle accident; in exchange for the bribes and kickbacks,
12   defendant would provide favorable official action on behalf of the
13   City to Person A, Person C, and other co-schemers with business
14   interests in the City by authorizing various types of commercial
15   marijuana activities, ensuring his supporters obtained the licenses
16   or permits they sought, and interfering with enforcement activities
17   by City officials; defendant would not publicly disclose his
18   financial relationship with co-schemers; and from December 2016 to

19   April 2018, defendant accepted multiple payments totaling at least

20   $57,500, in bribes and kickbacks from Person A, Person C, and other

21   co-schemers.

22        On or about February 28, 2017, in San Bernardino County, and

23   elsewhere, defendant for the purpose of executing the above-described

24   scheme to defraud, deposited a check from a Bank of America account

25   ending in 8478 in the approximate amount of $10,000 into a US Bank

26   account ending in 0917, causing the transmission of a wire

27   communication in interstate commerce.

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1                                  SENTENCING FACTORS

2               Defendant understands that in determining defendant’s

3    sentence the Court is required to calculate the applicable Sentencing

4    Guidelines range and to consider that range, possible departures

5    under the Sentencing Guidelines, and the other sentencing factors set

6    forth in 18 U.S.C. § 3553(a).       Defendant understands that the

7    Sentencing Guidelines are advisory only, that defendant cannot have

8    any expectation of receiving a sentence within the calculated

9    Sentencing Guidelines range, and that after considering the
10   Sentencing Guidelines and the other § 3553(a) factors, the Court will
11   be free to exercise its discretion to impose any sentence it finds
12   appropriate up to the maximum set by statute for the crime of
13   conviction.
14              Defendant and the USAO agree to the following applicable

15   Sentencing Guidelines factors:

16      Base Offense Level:                    14               U.S.S.G. § 2C1.1

17

18   Defendant and the USAO reserve the right to argue that additional

19   specific offense characteristics, adjustments, and departures under

20   the Sentencing Guidelines are appropriate.

21              Defendant understands that there is no agreement as to

22   defendant’s criminal history or criminal history category.

23              Defendant and the USAO reserve the right to argue for a

24   sentence outside the sentencing range established by the Sentencing

25   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

26   (a)(2), (a)(3), (a)(6), and (a)(7).

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1                           WAIVER OF CONSTITUTIONAL RIGHTS

2                Defendant understands that by pleading guilty, defendant

3    gives up the following rights:

4                a.    The right to persist in a plea of not guilty.

5                b.    The right to a speedy and public trial by jury.

6                c.    The right to be represented by counsel –- and if

7    necessary have the Court appoint counsel -- at trial.           Defendant

8    understands, however, that, defendant retains the right to be

9    represented by counsel –- and if necessary have the Court appoint
10   counsel –- at every other stage of the proceeding.
11               d.    The right to be presumed innocent and to have the
12   burden of proof placed on the government to prove defendant guilty
13   beyond a reasonable doubt.
14               e.    The right to confront and cross-examine witnesses
15   against defendant.
16               f.    The right to testify and to present evidence in
17   opposition to the charges, including the right to compel the
18   attendance of witnesses to testify.

19               g.    The right not to be compelled to testify, and, if

20   defendant chose not to testify or present evidence, to have that

21   choice not be used against defendant.

22               h.    Any and all rights to pursue any affirmative defenses,

23   Fourth Amendment or Fifth Amendment claims, and other pretrial

24   motions that have been filed or could be filed.

25                          WAIVER OF APPEAL OF CONVICTION

26               Defendant understands that, with the exception of an appeal

27   based on a claim that defendant’s guilty plea was involuntary, by

28   pleading guilty defendant is waiving and giving up any right to

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1    appeal defendant’s conviction on the offense to which defendant is

2    pleading guilty.     Defendant understands that this waiver includes,

3    but is not limited to, arguments that the statute to which defendant

4    is pleading guilty is unconstitutional, and any and all claims that

5    the statement of facts provided herein is insufficient to support

6    defendant’s plea of guilty.

7                    LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

8                Defendant agrees that, provided the Court imposes a total

9    term of imprisonment on the count of conviction of no more than 57
10   months, defendant gives up the right to appeal all of the following:
11   (a) the procedures and calculations used to determine and impose any
12   portion of the sentence; (b) the term of imprisonment imposed by the
13   Court; (c) the fine imposed by the Court, provided it is within the
14   statutory maximum; (d) to the extent permitted by law, the
15   constitutionality or legality of defendant’s sentence, provided it is
16   within the statutory maximum; (e) the term of probation or supervised
17   release imposed by the Court, provided it is within the statutory
18   maximum; and (f) any of the following conditions of probation or

19   supervised release imposed by the Court: the conditions set forth in

20   Second Amended General Order 20-04 of this Court; the drug testing

21   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the

22   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

23               The USAO agrees that, provided (a) all portions of the

24   sentence are at or below the statutory maximum specified above and

25   (b) the Court imposes a term of imprisonment of no less than 46

26   months, the USAO gives up its right to appeal any portion of the

27   sentence.

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1                        RESULT OF WITHDRAWAL OF GUILTY PLEA

2                Defendant agrees that if, after entering a guilty plea

3    pursuant to this agreement, defendant seeks to withdraw and succeeds

4    in withdrawing defendant’s guilty plea on any basis other than a

5    claim and finding that entry into this plea agreement was

6    involuntary, then (a) the USAO will be relieved of all of its

7    obligations under this agreement; and (b) should the USAO choose to

8    pursue any charge that was either dismissed or not filed as a result

9    of this agreement, then (i) any applicable statute of limitations
10   will be tolled between the date of defendant’s signing of this
11   agreement and the filing commencing any such action; and
12   (ii) defendant waives and gives up all defenses based on the statute
13   of limitations, any claim of pre-indictment delay, or any speedy
14   trial claim with respect to any such action, except to the extent
15   that such defenses existed as of the date of defendant’s signing this
16   agreement.
17                            EFFECTIVE DATE OF AGREEMENT

18               This agreement is effective upon signature and execution of

19   all required certifications by defendant, defendant’s counsel, and an

20   Assistant United States Attorney.

21                                 BREACH OF AGREEMENT

22               Defendant agrees that if defendant, at any time after the

23   signature of this agreement and execution of all required

24   certifications by defendant, defendant’s counsel, and an Assistant

25   United States Attorney, knowingly violates or fails to perform any of

26   defendant’s obligations under this agreement (“a breach”), the USAO

27   may declare this agreement breached.        All of defendant’s obligations

28   are material, a single breach of this agreement is sufficient for the

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1    USAO to declare a breach, and defendant shall not be deemed to have

2    cured a breach without the express agreement of the USAO in writing.

3    If the USAO declares this agreement breached, and the Court finds

4    such a breach to have occurred, then: (a) if defendant has previously

5    entered a guilty plea pursuant to this agreement, defendant will not

6    be able to withdraw the guilty plea, and (b) the USAO will be

7    relieved of all its obligations under this agreement.

8                Following the Court’s finding of a knowing breach of this

9    agreement by defendant, should the USAO choose to pursue any charge
10   that was either dismissed or not filed as a result of this agreement,
11   then:
12               a.    Defendant agrees that any applicable statute of

13   limitations is tolled between the date of defendant’s signing of this

14   agreement and the filing commencing any such action.

15               b.    Defendant waives and gives up all defenses based on

16   the statute of limitations, any claim of pre-indictment delay, or any

17   speedy trial claim with respect to any such action, except to the

18   extent that such defenses existed as of the date of defendant’s

19   signing this agreement.

20               c.    Defendant agrees that: (i) any statements made by

21   defendant, under oath, at the guilty plea hearing (if such a hearing

22   occurred prior to the breach); (ii) the agreed to factual basis

23   statement in this agreement; and (iii) any evidence derived from such

24   statements, shall be admissible against defendant in any such action

25   against defendant, and defendant waives and gives up any claim under

26   the United States Constitution, any statute, Rule 410 of the Federal

27   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

28   Procedure, or any other federal rule, that the statements or any

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1    evidence derived from the statements should be suppressed or are

2    inadmissible.

3             COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

4                                  OFFICE NOT PARTIES

5                Defendant understands that the Court and the United States

6    Probation and Pretrial Services Office are not parties to this

7    agreement and need not accept any of the USAO’s sentencing

8    recommendations or the parties’ agreements to facts or sentencing

9    factors.
10               Defendant understands that both defendant and the USAO are

11   free to: (a) supplement the facts by supplying relevant information

12   to the United States Probation and Pretrial Services Office and the

13   Court, (b) correct any and all factual misstatements relating to the

14   Court’s Sentencing Guidelines calculations and determination of

15   sentence, and (c) argue on appeal and collateral review that the

16   Court’s Sentencing Guidelines calculations and the sentence it

17   chooses to impose are not error, although each party agrees to

18   maintain its view that the calculations in paragraph 12 are

19   consistent with the facts of this case.         While this paragraph permits

20   both the USAO and defendant to submit full and complete factual

21   information to the United States Probation and Pretrial Services

22   Office and the Court, even if that factual information may be viewed

23   as inconsistent with the facts agreed to in this agreement, this

24   paragraph does not affect defendant’s and the USAO’s obligations not

25   to contest the facts agreed to in this agreement.

26               Defendant understands that even if the Court ignores any

27   sentencing recommendation, finds facts or reaches conclusions

28   different from those agreed to, and/or imposes any sentence up to the

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1    maximum established by statute, defendant cannot, for that reason,

2    withdraw defendant’s guilty plea, and defendant will remain bound to

3    fulfill all defendant’s obligations under this agreement.            Defendant

4    understands that no one –- not the prosecutor, defendant’s attorney,

5    or the Court –- can make a binding prediction or promise regarding

6    the sentence defendant will receive, except that it will be within

7    the statutory maximum.

8                               NO ADDITIONAL AGREEMENTS

9                Defendant understands that, except as set forth herein,
10   there are no promises, understandings, or agreements between the USAO
11   and defendant or defendant’s attorney, and that no additional
12   promise, understanding, or agreement may be entered into unless in a
13   writing signed by all parties or on the record in court.
14   //

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